
CASANUEVA, Judge.
This case presents the same issue we recently decided in Norwegian Cruise Line, Ltd. v. Clark, 841 So.2d 547(Fla. 2d DCA 2003), where the trial court denied transfer of venue based on a forum selection clause in a form cruise ticket contract. In Norwegian, we joined the majority of jurisdictions to find that such clause is enforceable, despite the fact that the passengers only had a short time to reject the form ticket contract if the venue provision had been objectionable to them, but took the cruise nevertheless. The facts of this case do not distinguish it from Norwegian. Therefore, we reverse with instructions to transfer this case to the venue specified in the cruise ticket contract.
*967Reversed and remanded with instructions.
ALTENBERND, C.J., and KELLY, J„ Concur.
